

People v Cottom (2025 NY Slip Op 02513)





People v Cottom


2025 NY Slip Op 02513


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: BANNISTER, J.P., MONTOUR, SMITH, NOWAK, AND HANNAH, JJ.


402 KA 24-01386

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vKIRK COTTOM, DEFENDANT-APPELLANT. 






KIRK COTTOM, DEFENDANT-APPELLANT PRO SE.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (MARTIN P. MCCARTHY, II, OF COUNSEL), FOR RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (Vincent M. Dinolfo, J.), dated January 5, 2024. The order denied the petition of defendant to reduce his risk level pursuant to the Sex Offender Registration Act. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








